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   SO ORDERED.

   SIGNED this 6 day of December, 2021.


                                                      ___________________________________________
                                                      Stephani W. Humrickhouse
                                                      United States Bankruptcy Judge
_________________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  RALEIGH DIVISION

   IN RE:

   ANDRES QUINTANA and
   JANE QUINTANA                                        CASE NO. 20-02391-5-SWH
                                                        CHAPTER 7

          DEBTORS.


   PW FUNDING, LLC
                  Plaintiff,

   v.                                                   AP NO. 20-000123-5-SWH

   JANE QUINTANA
                         Defendant.


                                             JUDGMENT
          In accordance with the court’s order of December 3, 2021, denying the Plaintiff’s
   Complaint seeking a determination that its debt is nondischargeable pursuant to § 523, Judgment
   is hereby entered in favor of the Defendant. All claims relating to this matter between the Parties
   are found to be dischargeable in bankruptcy.
                                       END OF DOCUMENT
